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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO



JOHN ANTHONY CASTRO,
         Plaintiff,

v.                                                            Civ. NO. 1:23-cv-00766-GJF-MLG

MAGGIE TOULOUSE OLIVER and
DONALD JOHN TRUMP.
         Defendants.



         RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION TO AMEND
       Defendant Donald John Trump, by counsel, hereby responds in opposition to Plaintiff’s

Motion to Amend. (CM/ECF No. 63 (“Motion”).) The Motion states that Plaintiff seeks leave to

amend his Complaint because he fears this Court will dismiss his Complaint for lack of standing.

(Motion at 1-2.) He seeks to add to his Complaint purported “campaign activities that arose after

the filing of the original complaint.” (Motion at 1.) Because the motion is futile and/or brought in

bad faith, however, Plaintiff’s motion should be denied.

       If a party has failed to amend its pleading “as a matter of course” under Rule 15(a)(1),

then it can amend only with either the “opposing party’s written consent or the court’s leave.”

Fed. R. Civ. P. 15(a)(2). Although leave is freely given “when justice so requires,” id., courts

should refuse to grant leave to amend “upon a showing of undue delay, undue prejudice to the

opposing party, bad faith or dilatory motive, failure to cure deficiencies by amendments

previously allowed, or futility of amendment.” Bylin v. Billings, 568 F.3d 1224, 1229 (10th Cir.

2009) (citation and internal quotation marks omitted).




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       Here, the Court should deny Plaintiff’s motion to amend because it is futile and/or

brought in bad faith.

       1. Plaintiff’s Amendment is Futile.

       Plaintiff’s proposed Amended Complaint is futile because it would still require dismissal

under Rule 12(b). “A proposed amendment is futile if the complaint, as amended, would be

subject to dismissal.” Fields v. City of Tulsa, 753 F.3d 1000, 1012 (10th Cir. 2014) (citation and

internal quotation marks omitted). “A complaint is subject to dismissal under Fed. R. Civ. P.

12(b)(6) if the plaintiff fails to allege facts that would ‘allow[ ] the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.’” Id. at 1012-13 (quoting

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).

       Plaintiff’s proposed Amended Complaint is futile because it would nevertheless require

dismissal for lack of standing, among other reasons. Plaintiff attempts to justify his Motion by

claiming that the First Circuit, when it affirmed the District of New Hampshire’s dismissal of

Plaintiff’s similar complaint seeking to keep President Trump off the ballot in New Hampshire,

failed to consider Plaintiff’s post-complaint campaign activities. But the First Circuit did

consider Castro’s post-complaint “campaign activities.” Castro v. Scanlan, 86 F.4th 947, 959

(1st Cir. 2023) (“We are not quite finished. The reason is that we are aware that there is evidence

in the record that shows that, after Castro filed the operative complaint, he expressed his intent to

travel to New Hampshire on October 11 to file his declaration of candidacy and pay the $1,000

filing fee to appear on the state's 2024 Republican presidential primary ballot -- and that on

October 11, he did so.”) (“Scanlan”).

       The First Circuit explained that including, in an amended complaint, campaign activities

that occurred after the original complaint was filed, such as “by showing that he will appear (or



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is likely to appear) on the relevant ballot,” would not necessarily cloak Castro with standing. Id.

In that regard, the First Circuit indicated even an amended complaint could fail to save Castro’s

lack of standing there. Id. The Court elaborated:

               [W]e cannot agree that a showing that a plaintiff has taken the steps
               required to be placed on the ballot in the primary contest at issue
               necessarily always suffices to show such an injury. Indeed, if the
               rule were otherwise, then the theory of political competitor standing
               would seem to offer those invoking it a significant means of
               effecting an end-run around the usual bar to a federal court’s power
               to remedy what is in the end merely a generalized grievance.

Id. at 960 (emphasis added).

       A recent decision from the District of Arizona similarly found that it lacked subject-

matter jurisdiction because Castro lacks standing. John Anthony Castro, Plaintiff, v. Adrian

Fontes, et al., Defendants., No. 23-cv-01865-PHX-DLR, 2023 WL 8436435, at *2 (D. Ariz. Dec.

5, 2023) (“Fontes”). And, at the same time, the Fontes court also denied Castro’s motion to

amend. In so deciding, the Fontes court determined that “[t]he beefed-up standing allegations in

Castro’s proposed verified amended complaint mirror the evidence previously submitted to the

Court in the form of affidavits,” and that the court “considered this information and concluded

that it does not establish a genuine, concrete competitive injury.” Id. at *6. In the end, the Fontes

court found that, “even considering the allegations in Castro’s proposed amended verified

complaint,” “Castro is not genuinely competing with Trump for votes or contributions, and

therefore is not suffering a concrete competitive injury.” Id.

       Similarly, just yesterday the District Court for the Southern District of West Virginia

dismissed yet another complaint from Castro for lack of standing. Castro v. Warner, et al., Case

No. 2:23-cv-00598 (S.D.W.Va. Dec. 21, 2023) (ECF No. 88). The West Virginia court noted

“[b]ecause Plaintiff has filed more than two dozen similar cases, the Court has the benefit of

previous decisions addressing [standing] issues, arising from essentially identical complaints and
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facts in other states. The courts that have ruled have uniformly concluded that the Plaintiff lacks

standing.” Id. at 10. The court went on to “find[] that Mr. Castro’s complaint relies on

supposition and speculation” and noted Castro’s “evidentiary submissions only make matters

worse for the Plaintiff.” Id. at 12, 13. Indeed, “[i]f there were any questions as to whether the

allegations in the complaint are sufficient to overcome a facial challenge, the evidentiary

submissions remove any doubt that Mr. Castro’s purported ‘campaign’ exists as a vehicle for

pursuing litigation, not votes.” Id. at 13.

        Castro’s proposed amendment to the Complaint in this case does not overcome his

standing deficiency. As in West Virginia and Arizona, additional evidence does not help Castro.

        Even when considering the amendment, Plaintiff’s allegations still fail to satisfy the basic

elements for standing. For example, Plaintiff highlights that, since the filing of his Complaint on

September 8, 2023, he “has received worldwide media coverage and recognition as a Presidential

candidate.” (Motion at 2.) In the next sentence, however, he admits that the one could chalk up

the “coverage as focusing only on Plaintiff’s litigation” (Motion at 3), which is what the First

Circuit noted. Scanlan, 86 F.4th at 960 n.7 (“We note that the District Court found Castro’s

testimony ‘about his media coverage’ unpersuasive because ‘[t]he court ha[d] no way of

knowing whether the purported media coverage focused on Castro as a candidate actually

seeking the Republican nomination for president, or as a litigant seeking to disqualify Trump.’”

(alterations in original)).1




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  On this point, Plaintiff argues that his campaign strategy “will one day be studied as an early
example of multi-state guerilla lawfare,” and lectures that the “federal judiciary is in no position
to adjudicate Plaintiff’s campaign media strategy and how these cases play into it.” (Motion at
3.)
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       Plaintiff next trumpets a trio of states where he has been placed on the ballot: Nevada,

New Hampshire, and Arizona. (Motion at 3.) But as explained by the First Circuit, even evidence

of ballot placement in the state at issue may just be “effecting an end-run” around the federal

court’s standing requirements. See Scanlan, 86 F.4th at 960. And likely ballot placement in

Arizona did not convince the Fontes court that Castro demonstrated standing. Even granting that

the evidence showed Castro’s likely placement on the Arizona ballot,

               it does not convince the Court that Castro is genuinely competing
               with Trump for votes or contributions, or that he has any chance or
               intent to prevail in that election. Castro offers no evidence that he
               has Arizona supporters, that he has received contributions from any
               voter anywhere in the country, or that he would gain support or
               contributions if Trump could not appear on the ballot.

Fontes, 2023 WL 8436435, at *4.

       Finally, Plaintiff notes that he raised campaign contributions from “throughout the United

States,” hired an alum of the University of New Mexico School of Law, and campaigned in

Albuquerque and Santa Fe. (Motion at 3.) But none of this should “convince the Court that

Castro is genuinely competing with Trump for votes or contributions, or that he has any chance

or intent to prevail in [New Mexico’s] election.” Fontes, 2023 WL 8436435, at *4.

       Accordingly, because Castro’s amendment is futile, his Motion should be denied.

       2. Plaintiff Filed his Motion to Amend in Bad Faith.

       Bad faith can be inferred when an amendment is a “lightly veiled attempt to avoid”

unhelpful allegations made in a previous pleading. See Ayon v. Gourley, 185 F.3d 873 (10th Cir.

1999). As the Fontes court put it, “Castro is not genuinely competing for the Republican Party’s

presidential nomination; he is transparently and in bad faith attempting to manufacture an injury

for the sole purpose of pursuing litigation, not to obtain redress for any concrete, non-speculative

injury.” Fontes, 2023 WL 8436435, at *5; see also Scanlan, 2023 WL 7110390 at *5 (“[T]he


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evidence indicates that Castro is creating his own injury in order to manufacture standing to

challenge Trump's eligibility to run for president. Indeed, by his own admission, Castro declared

as a candidate and paid the filing fee to show the impermissibility of Trump's presidency. He

asserts that one of his goals in the campaign is ‘to demonstrate his legal ingenuity, ability to

effectuate a national litigation strategy with minimal resources (i.e. guerrilla lawfare), and

demonstrate executive leadership capabilities.’ [footnote omitted] This practice of manufacturing

standing to pursue a cause through litigation is not supported by the law.”); Warner, Case No.

2:23-cv-00598 at * 13 (“If there were any questions as to whether the allegations in the

complaint are sufficient to overcome a facial challenge, the evidentiary submissions remove any

doubt that Mr. Castro’s purported ‘campaign’ exists as a vehicle for pursuing litigation, not

votes.”)

        As the above “futility” analysis addressed, there is little daylight between the facts of this

case and those in Fontes, Scanlan, or Warner. This Court can see Castro’s “campaign strategy”

for what it is: a mechanism to manufacture standing. Nothing in Plaintiff’s amendment changes

this.

        Accordingly, Castro’s Motion to Amend should be denied also because it is brought in

bad faith.

                                          CONCLUSION

               For the reasons stated above, Defendant Donald John Trump respectfully requests

that Plaintiff’s Motion to Amend be denied.

                                                       CARUSO LAW OFFICES, P.C.

                                                           Electronic Filing

                                                       By: /s/ Mark J. Caruso
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                                CERTIFICATE OF SERVICE

       The undersigned counsel does hereby certify that on the 22nd day of December 2023, the

foregoing document was served upon all parties of record electronically via the Court’s

CM/EMF system.


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